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                        UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

  In Re:                                                Chapter 13

  Paula Van Sickle,                                     Case No. 16-65093-sms
                               Debtor.


  Wells Fargo Bank, N.A., its successors or
  assigns,
                                                        Contested Matter*
                               Movant,

  V.

  Paula Van Sickle, Debtor

                               Respondents.

       RESPONSE TO DEBTOR'S AMENDED EMERGENCY MOTION TO SELL


       COMES NOW the Respondent, Wells Fargo Bank, N.A., by and through its attorneys,

and responds to Debtor's Amended Emergency Motion to Sell Real as follows:

                                              1.

       On August 30, 2016, Paula Van Sickle (“Debtor”) filed for protection in the Bankruptcy

Court for the Northern District of Georgia (“the Bankruptcy Court”) under Chapter 13 of the

Bankruptcy Code, being bankruptcy case number 16-65093-sms (“the Bankruptcy Case”).

                                                   2.

       Mary Ida Townson (Trustee”) is the appointed Chapter 13 Trustee.
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                                                       3.

          Respondent is the holder, or legal agent of the holder, of a Note secured by a Deed of

Trust encumbering real property, owned by Debtor, located at 4938 Montford Crt. Duluth, GA

30096 (“the Property”).

                                                       4.

          On April 22, 2021, Debtor filed an Amended Emergency Motion to Sell (“Motion to

Sell”).

                                                       5.

          In the Motion to Sell, Debtor has a contract dated April 20, 2021 on the property for a

purchase price of $300,000.00.

                                                       6.

          Respondent requests that any sale short of a full payoff of the Property be subject to final

approval by Respondent.

                                                       7.

          Respondent does not oppose a sale of the Property, as long as it provides for payment in

full of the obligation owed to Respondent and is subject to a proper payoff quote.

          WHEREFORE Respondent respectfully requests that the Bankruptcy Court enter its

Order:

          A. Requiring that any sale of the Property be of sufficient amount to provide for payment

          in full of the obligation owed to Respondent; and,

          B. Requiring that any sale of the Property be subject to final approval by Respondent; or

          D. In the alternative, denying Debtor’s Motion to Sell; and,

          E. For such other and further relief as the Bankruptcy Court deems proper.
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                                      Respectfully Submitted,
                                      LOGS Legal Group LLP



                                      __/s/ Lucretia L. Scruggs___________________
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on 3rd day of May, 2021, a copy of the foregoing

Amended Emergency Motion to Sell was caused to be served upon the following:


Via CM/ECF Electronic Notice

R. Jeffrey Field, Jeff Field & Associates
342 North Clarendon Avenue
Scottdale, GA 30079

Mary Ida Townson
Chapter 13 Trustee
Suite 1600
285 Peachtree Center Avenue, NE
Atlanta, GA 30303-1740

Via First Class Mail, Postage Prepaid

Debtor
Paula Van Sickle
4345 Pinewalk Drive
Alpharetta, GA 30022


                                            LOGS Legal Group LLP



                                            _/s/ Lucretia L. Scruggs_____________________
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